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7

8
                             IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                  2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                  STIPULATION AND
14                                       )                  ORDER TO ALLOW DEFENDANT
     v.                                  )                  TO TRAVEL TO MEXICO
15                                       )
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                             STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that Ms. Hermosillo may, with the permission of her pretrial services
24

25   officer, and pursuant to such conditions as required by her pretrial services officer, travel to

26   Morelia, Michoacan, Mexico, at any time between February 13, 2019 and February 19, 2019 to
27
     visit her father-in-law and brother-in-law, both of whom have been diagnosed with end-stage
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                                              Stipulation and Order - 1
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 1   cancer. The father-in-law is not expected to live longer than about a week from the date this
 2
     stipulation is filed. Ms. Hermosillo has traveled to Mexico to visit family on 11 prior occasions
 3
     while on pretrial release in this case, and there have been no reported violations of the court-
 4

 5
     imposed travel conditions.

 6          It is further stipulated that pretrial services shall return Ms. Hermosillo’s passport to her
 7   on the date of the filing of the proposed order to permit Ms. Hermosillo to travel to Mexico on or
 8
     after February 13, 2019. Ms. Hermosillo must return to the United States no later than February
 9
     19, 2019 and must check in with and surrender her passport to her pretrial services officer within
10

11   24 hours of returning to the United States, but in no event later than February 20, 2019.

12          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
13
     IT IS SO STIPULATED.
14
     Dated: February 13, 2019                      MCGREGOR SCOTT
15                                                 United States Attorney
16
                                           By:     /s/ Brian Fogerty
17                                                 BRIAN FOGERTY
                                                   Assistant United States Attorney
18

19

20   Dated: February 13, 2019                      /s/ Erin J. Radekin
                                                   ERIN J. RADEKIN
21                                                 Attorney for Defendant
22                                                 SANDRA HERMOSILLO

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24
     IT IS SO ORDERED.
25
     Dated: February 13, 2019
26

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                                              Stipulation and Order - 2
